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                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
                                           www.flmb.uscourts.gov

In re:
                                                                                       Case No. 8:19-01274-CPM
NATIONAL RADIOLOGY CONSULTANTS, P.A.,
                                                                                       Chapter 11
                        Debtor.
___________________________________________/

              DEBTOR’S NOTICE OF MATERIAL CHANGES INCORPORATED
            INTO AMENDED PLAN AND AMENDED DISCLOSURE STATEMENT

           National Radiology Consultants, P.A. (the “Debtor”), through undersigned counsel and

pursuant to Section 1127 of the Bankruptcy Code hereby files this notice of material changes

from the Plan of National Radiology Consultants, P.A. (Doc. No. 101) to the Amended Plan of

Liquidation of National Radiology Consultants, P.A. (Doc. No. 120) (the “Plan”); and, from the

Disclosure Statement in Connection with Plan of National Radiology Consultants, P.A. (Doc.

No. 102) and the Amended Disclosure Statement in Connection with Amended Plan of

Liquidation of National Radiology Consultants, P.A. (Doc. No. 121) (the “Disclosure

Statement”).

  Plan      Disclosure                                                           Revised
            Statement                                                           Language
  2.4        VIII D 2    UPON CONFIRMATION OF THE PLAN, THE AFFILIATES SHALL BE SUBSTANTIVELY CONSOLIDATED
                         WITH THE DEBTOR. CHASE SHALL BE ENTITLED TO A PERFECTED LIEN ON THE ASSETS OF THE
                         AFFILIATES AS WELL AS THE DEBTOR.
                          ...
                         ANY INJUNCTION SHALL REMAIN ONLY SO LONG AS THE DEBTOR IS CURRENT WITH ITS
                         PAYMENTS UNDER THE PLAN. SHOULD THE DEBTOR DEFAULT, THE INJUNCTION SHALL BE
                         RELEASED AND THE CREDITORS SHALL BE ENTITLED TO SEEK ANY LEGAL REMEDIES THEY
                         WOULD BE ENTITLED AGAINST DR. OKOH AND/OR THE AFFILIATES. THE INJUNCTION DOES NOT
                         PROTECT DR. OKOH OR ANY OTHER PARTY FROM CHAPTER 5 CLAIMS.
 3 and 4       VI        Class 1 - Dr. Okoh has agreed to subordinate his Allowed Unsecured Priority Wage Claim to Class 5.
                         ...
                         Class 2 - Chase shall be entitled to post-petition contract interest rate and reasonable attorney’s fees, not to exceed
                         $130,000. Post confirmation, the interest rate shall be reduced to 5.25%.
                         ...
                         Class 5 - Class 5 consists of all Allowed Unsecured Wage Claims. The Debtor’s principal Dr. James Okoh (“Dr.
                         Okoh”) holds an Allowed Unsecured Wage Claim of $463,650.00 (the “Okoh Wage Claim”). Dr. Okoh has agreed
                         to subordinate the first $20,000.00 to the Litigation Fund; and, the entire remainder of the Okoh Wage Claim to Class
                         5 (the “Okoh Subordination”).
                         ...
                         Class 6 – Once Class 5’s pre-petition indebtedness is extinguished, Class 6 shall receive the proceeds from the
                         Remainder until paid in full. Furthermore, litigation proceeds from prosecuting Former Officer Claims shall be used
                         to pay Allowed Class 6 Claims after Class 5 has been paid in full should the Debtor prosecute.



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  Plan    Disclosure                                                           Revised
          Statement                                                           Language
  5.4      VIII C 1    The Disbursing Agent shall file with the Court quarterly reports evidencing the collections and balance of the
                       receivables as well as the status of any Causes of Action.
  6.3        IX        The Disbursing Agent shall have the right and authority to hire independent counsel and pursue the Retained Causes
                       of Action through the Litigation Fund; and, thereafter counsel shall pursue the claims on a contingency fee basis.
  7.1       VII B      The Debtor will be deemed to have rejected all Executory Contracts or Unexpired Leases that have not been
                       expressly assumed by the Debtor with the Bankruptcy Court’s approval on or prior to the Confirmation Date, and are
                       not the subject of a pending motion to assume on the Confirmation Date. The Plan shall constitute a motion to reject
                       such executory contracts and unexpired leases, and the Debtor shall have no liability thereunder except as is
                       specifically provided in the Plan. Entry of the Confirmation Order shall constitute approval of such rejections. To
                       the extent the Debtor’s contracts with Critical Vendors are considered executory contracts, the Debtor proposes to
                       assume those contracts through the Plan. By this Article, the Debtor expressly rejects that certain Healthcare Master
                       Agreement by and between Nuance Communications, Inc. and Debtor effective December 31, 2015 (together with all
                       schedules, exhibits and orders thereto, including, without limitation, that certain order entered into on December 30,
                       2015 and executed on December 31, 2015).

  N/A       IV D       Early in the case, the Debtor sought approval to use cash collateral, which was approved by various orders. The
                       Debtor also sought approval to employ John Patrick (“Mr. Patrick”) to assist in the collection of the receivables. The
                       Debtor later obtained approval to expand the scope of Mr. Patrick’s employment to include managing the Debtor in
                       order to streamline the debtor’s remaining operations.

                       The Debtor has focused its efforts on collecting its receivables and downsizing it expenses. The Debtor no longer
                       pays Dr. Okoh for medical or managerial services and Mr. Patrick is handling the office management, so that the
                       Debtor could further downsize in staff.

                       The Debtor has had discussions with several companies regarding purchasing the older (potentially uncollectible
                       receivables), in an effort to maximize distribution to its creditors.

  N/A            V     (b) Exhibit “C” provides the summary page for the Debtor’s post-petition financial reports for February 2019
                       through May 2019 (collectively, the “Post-Petition Financial Information”).
                       ...
                       The Financial Projections assume an Effective Date in August of 2019.



         DATED this 12th day of July 2019.
                                                              /s/ Daniel E. Etlinger
                                                              David S. Jennis
                                                              Florida Bar No. 775940
                                                              Daniel E. Etlinger
                                                              Florida Bar No. 77420
                                                              JENNIS LAW FIRM
                                                              606 East Madison Street
                                                              Tampa, Florida 33602
                                                              Telephone: (813) 229-2800
                                                              E-mail: djennis@jennislaw.com
                                                                      detlinger@jennislaw.com

                                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been
furnished by CM/ECF electronic service to the United States Trustee, 501 E. Polk St., Suite
1200, Tampa, FL 33602 and to those parties listed on the and to those parties who receive
electronic notice via CM/ECF; and, by U.S. Postal Service, postage pre-paid, to all creditors and
parties in interest listed on the attached Mailing Matrix in the ordinary course of business
(Mailing Matrix attached to original Notice only), on this 12th day of July 2019.

                                                              /s/ Daniel E. Etlinger
                                                              Daniel E. Etlinger
{00325534.DOC}                                               2
                             Case 8:19-bk-01274-CPM
Label Matrix for local noticing              Andrea P Bauman,Doc  124 Filed 07/12/19
                                                              C.P.A.                        Page   3 of 7
                                                                                            Alex Bibby
113A-8                                       Andrea P Bauman, CPA                           1815 University Dr
Case 8:19-bk-01274-CPM                       P.O. Box 5530                                  Durham, NC 27707-2137
Middle District of Florida                   Lakeland, FL ll 33807-5530
Tampa
Fri Jul 12 12:14:40 EDT 2019
HCA Health Services of Florida, Inc. d/b/a O JJP Recruiting, LLC d/b/a Radar Healthcare P   JPMorgan Chase Bank, N.A.
c/o John D. Emmanuel, Esq.                   Burr & Forman, LLP                             c/o Shutts & Bowen LLP
Buchanan Ingersoll & Rooney PC               201 North Franklin Street, Suite 3200          4301 W. Boy Scout Blvd., Suite 300
401 E. Jackson St., Suite 2400               Tampa, FL 33602-5872                           Tampa, FL 33607-5716
Tampa, FL 33602-5236

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                                              Lutz, FL 33558-5388                           Suite 2700
                                                                                            Tampa, FL 33602-5810

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                                              St. Petersburg, FL 33707-1718                 Suite 1455
                                                                                            Miami, FL 33156-2944

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15701 Newcastle Court                         3M Corporate Headquarters                     Dept. 0881
Tampa, FL 33647-1118                          3M Center                                     PO Box 120881
                                              Saint Paul, MN 55144-1000                     Dallas, TX 75312-0881


Adam Green M.D.                               Adel Abdalla, M.D.                            Aetna, Inc.
450 Knights Run Avenue #502                   1803 Park Center Drive                        Aaron McCollough
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                                              Orlando, FL 32835-6216                        77 West Wacker Drive, Suite 4100
                                                                                            Chicago, IL 60601-1818

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                                              San Francisco, CA 94139-3163


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c/o CT Corporation System, R                  c/o Becket and Lee LLP                        1320 S. Priest Drive
1200 South Pine Island Road                   PO Box 3001                                   Suite 106
Fort Lauderdale, FL 33324-4413                Malvern PA 19355-0701                         Tempe, AZ 85281-6959


Aqua Chill                                    BMW Card Services                             Bayshore Solutions
PO Box 24741                                  PO Box 660545                                 600 N. Westshore Boulevard
Tempe, AZ 85285-4741                          Dallas, TX 75266-0545                         Suite 700
                                                                                            Tampa, FL 33609-1132


Blue Cross Blue Shield of                     CBIZ, Inc.                                    CenturyLink
Florida, Inc.                                 25450 Network Place                           100 Centurylink Drive
4800 Deerwood Campus Parkway                  Chicago, IL 60673-1254                        Monroe, LA 71203-2041
Jacksonville, FL 32246-6498
CenturyLink                     Case 8:19-bk-01274-CPM         Doc Service
                                                CenturyLink Business 124 Filed 07/12/19   Page   4 ofCommunications,
                                                                                          Centurylink 7              LLC
PO Box 52124                                     PO Box 52187                             Bankruptcy
Phoenix, AZ 85072-2124                           Phoenix, AZ 85072-2187                   1025 El Dorado Blvd
                                                                                          Broomfield, CO 80021-8254


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PO Box 572490                                    3055 Lebanon Pike                        PO Box 1423
Salt Lake City, UT 84157-2490                    Nashville, TN 37214-2230                 Charlotte, NC 28201-1423



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PO Box 630910                                    701 East 60th Street North               PO Box 9001037
Cincinnati, OH 45263-0910                        Sioux Falls, SD 57104-0432               Louisville, KY 40290-1037



Cliftonlarsonallen Wealth                        Corporation Service Company              Darryl R. Richards
Advisors, LLC                                    PO Box 13397                             Johnson Pope Bokor Ruppel &
220 S. 6th Street                                Philadelphia, PA 19101-3397              Burns, LLP
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Minneapolis, MN 55402-1418                                                                Tampa, FL 33602-5228

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PO Box 2305                                      1295 Old Alpharetta Road                 PO Box 6668
Alpharetta, GA 30023-2305                        Alpharetta, GA 30005-1807                Tallahassee FL 32314-6668



Duke Energy Headquarters                         EEI Security, Inc.                       EEI Security, Inc.
526 S. Church Street                             14529 N. Florida Avenue                  PO Box 17849
Charlotte, NC 28202-1802                         Tampa, FL 33613-2134                     Tampa, FL 33682-7849



Emergence                                        Fan Yun Gan, M.D.                        Florida Blue
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Suite 516                                        Port Saint Lucie, FL 34986-3353          Suite 100
Springfield, MO 65806-1334                                                                Richardson, TX 75081-2493


Florida Retirement Consultan                     Frontier                                 Gilbert M. Singer, Esquire
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Suite 500                                        Cincinnati, OH 45274-0407                Tampa, FL 33611-5650
Tampa, FL 33634-1232


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                                                 401 E. Jackson St., Suite 2400
                                                 Tampa, FL 33602-5236
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Tampa, FL 33618-8915
Hillsborough County Medical Case 8:19-bk-01274-CPM         Doc 124
                                            Hugo Montes, M.D.                Filed 07/12/19   Page
                                                                                              Internal5 Revenue
                                                                                                         of 7 Service
Association                                 18410 Tapestry Lake Circle                        Centralized Insolvency Oper.
606 S. Boulevard                            Apt. 101                                          PO Box 7346
Tampa, FL 33606-2630                        Lutz, FL 33548-4614                               Philadelphia, PA 19101-7346


Internal Revenue Service                      JJP RECRUITING, LLC d/b/a RADAR HEALTHCARE P    JJP Recruiting, LLC d/b/a Radar Healthcare P
P.O. Box 7346                                 c/o Ronald B. Cohn, Esq.                        c/o Ronald B. Cohn, Esquire
Philadelphia, PA 19101-7346                   Burr & Forman LLP                               201 North Franklin Street, Suite 3200
                                              201 North Franklin Street, Suite 3200           Tampa, Florida 33602-5872
                                              Tampa, Florida 33602-5872

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270 Park Avenue                               270 Park Avenue                                 Collateral Mgmt Small Bus.
New York, NY 10017-2014                       New York, NY 10017-2014                         PO Box 33035
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LOCUMTENENS.COM, LLC                          Lincoln National Life Ins.                      LocumTenens.com
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FL Neurological Compensation                  ONE WAYSIDE ROAD                                c/o Mark J. Wolfson, Esq.
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                                                                                              Tampa, FL 33602-5810
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Vorys, Sater, Seymour and Pease LLP           Carol Stream, IL 60132-2561                     Land O Lakes, FL 34639-4425
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PO BOX 276                                    711 High Street                                 Promise Hospital of Miami
DADE CITY FL 33526-0276                       Des Moines, IA 50392-1520                       14001 NW 82nd Avenue
                                                                                              Maimi Lakes, FL 33016-1561


Radar Heathcare Providers                     Radar Heathcare Providers                       Radiation Services
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Building 200                                  Watkinsville, GA 30677-0034                     Dover, FL 33527-3712
Watkinsville, GA 30677-1947
RamSoft                      Case 8:19-bk-01274-CPM
                                             Salesforce.com,Doc
                                                             Inc. 124         Filed 07/12/19   Page   6 of 7 Inc.
                                                                                               Salesforce.com,
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                                                                                               San Francisco, CA 94105


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                                              Coppell, TX 75019-4630


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                                              Tampa, FL 33602-4774

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ATTN: CDM/Bankruptcy                          12108 North 56th Street                          of Illinois, S.C.
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San Francisco, CA 94163-0001                  Minneapolis, MN 55480-7753                       P.O. Box 29482
                                                                                               Phoenix AZ 85038-9482


Zayo                                          Zayo Group, LLC                                  Zayo Group, LLC
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                                              Boulder, CO 80301-1067


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Tampa, FL 33601-3391
Kelley M Petry +              Case 8:19-bk-01274-CPM         Doc
                                              Camille J Iurillo + 124               Filed 07/12/19       Page
                                                                                                         Angelina7 EofLim7 +
Kelley M. Petry, P.A.                               Iurillow Law Group, P.A.                             Johnson Pope Bokor Ruppel & Burns LLP
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Edward J. O’Sheehan +                               Ryan C   Reinert +                                   Megan Wilson Murray +
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David S Jennis +                                    Nathan A Wheatley +                                  Daniel E Etlinger +
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606 East Madison Street                              501 E. Polk St., Suite1200                          606 East Madison Street
Tampa, FL 33602-4029                                 Tampa, FL 33602-3945                                Tampa, FL 33602-4029


Note: Entries with a ’+’ at the end of the
name have an email address on file in CMECF




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Nuance Communications, Inc.                         Pasco County Tax Collector
3984 Pepsi Cola Drive                               PO Box 276
Melbourne, FL 32934                                 Dade City, FL 33526




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Catherine Peek McEwen                            (d)RamSoft USA, Inc.                                 (d)Satish Venkataperumal, M.D.
Tampa                                               c/o Iurillo Law Group, P.A.                          15701 Newcastle Court
                                                    5628 Central Ave.                                    Tampa, FL 33647-1118
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End of Label Matrix
Mailable recipients     129
Bypassed recipients       3
Total                   132
